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 4
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 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                               *****
11   UNITED STATES OF AMERICA,                    )       Case No CRF-08-0265 AWI
                                                  )
12                                                )       DEFENDANT MARIO FRANCO’S
                                                  )       EX PARTE APPLICATION
13                         Plaintiffs,            )       FOR AN ORDER PREVENTING
                                                  )       THE GOVERNMENT FROM
14   vs.                                          )       DESTROYING MARIJUANA
                                                  )       EXHIBITS UNTIL FURTHER ORDER
15   MARIO FRANCO,                                )
                                                  )
16                                                )
                           Defendant.             )
17                                                )       COURT:         Honorable Anthony W. Ishii
18                                             APPLICATION
19          Defendant, Mario Franco, applies to this Court for an order prohibiting the government
20   from destroying item #’s 9, 30A-30Z, 35-35C, 36, 40, 40A-40F, 41, 42, 44, 44A, 50, 51, 70, 71,
21   100, 101, and 102, all marijuana exhibits set forth in discovery, in the above-captioned case
22   seized from 2340 Algehro Dr., Delano, Ca 93215 on August 4, 2008.
23          Defendant requests that this evidence be preserved until the defense has had an
24   opportunity to examine it and weigh it.
25   Dated: September 19, 2008                            Respectfully submitted,
26
27                                                         /s/ W. Scott Quinlan
                                                          W. Scott Quinlan, Attorney for
28                                                        Defendant, MARIO FRANCO
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 1                                                ORDER
 2          Upon reviewing the ex parte application of Defendant Mario Franco, and good cause
 3   appearing therefore;
 4          IT IS HEREBY ORDERED that Item #’s 9, 30A-30Z, 35-35C, 36, 40, 40A-40F, 41, 42,
 5   44, 44A, 50, 51, 70, 71, 100, 101, and 102 in the above-captioned case seized from 2340 Algehro
 6   Dr., Delano, Ca 93215 on August 4, 2008 shall not be destroyed until further order of this court.
 7
 8   IT IS SO ORDERED.
 9   Dated:     September 22, 2008                    /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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